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                           EXHIBIT 5
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From:                              Michael Vaska <mike.vaska@foster.com>
Sent:                              Wednesday, November 11, 2020 12:01 PM
To:                                Daniel E. Gardenswartz
Cc:                                Tanya M. Schierling; Levi Y. Silver; Solish, Jonathan; Harford, David; Devra Cohen
Subject:                           Responding to your Nov. 6, 2020 Email


Dan,

We propose to proceed with a new, neutral arbitration forum because JAMS is not impartial in this case. JAMS
abandoned its neutrality by supporting Monster Energy’s position through briefs filed with the Ninth Circuit and the
United States Supreme Court, asserting that the result obtained by Olympic Eagle “directly impact JAMS’s neutrals and
JAMS’s business.” JAMS recognized it has breached the obligation of being impartial, saying that as “a neutral ADR
provider [it] has always refrained from supporting or opposing challenges to the arbitral processor arbitration awards.”

Both parties, Olympic Eagle and Monster Energy, are entitled to a fair and impartial forum. JAMS has disqualified itself
from providing a neutral forum. Having a neutral forum will advance what we believe to be the parties’ shared goals of
resolving this dispute with fairness, efficiency and finality.

Please let us know if Monster Energy agrees to submit this dispute to arbitration at a neutral forum.

We address each of the questions raised in your November 6 email below.

    1. Your Letter states that if Monster refuses Olympic’s proposal, Olympic “will file a motion with Judge Klausner to
       appoint an alternative provider and for other appropriate relief.” As you know, under Local Rule 7-3 before the
       filing of any such motion Olympic must “discuss thoroughly . . . the substance of the contemplated motion and
       any potential resolution.” To that end, kindly provide the legal authority supporting Olympic’s assertion that (a)
       this issue is not res judicata, and (b) JAMS is effectively disqualified. Please also identify what “other
       appropriate relief” Olympic intends to pursue through this motion.

        Olympic Eagle’s Response:

        (a) Under “res judicata,” “collateral estoppel” or “law of the case doctrine,” parties are not bound by prior
            decisions that did not address the issue and facts presented. See, e.g., Flores v. Transamerica HomeFirst,
            Inc., 93 Cal. App. 4th 846, 852 (2001) (collateral estoppel applies “if the issue previously decided is identical
            to the one which is sought to be relitigated. . . .”); Clark v. Yosemite Community College Dist., 785 F.2d 781,
            789 (9th Cir. 1986) (“[t]he doctrine of res judicata extends only to the facts and conditions as they existed at
            the time the judgment was rendered, and to the legal rights and relations of the parties as fixed by the facts
            determined in the judgment. . . . When other facts or conditions intervene, forming a new basis for a claim,
            the issues are no longer the same and res judicata does not apply.”); United States v. Lummi Nation, 763
            F.3d 1180, 1185 (9th Cir. 2014) (law of the case doctrine “applies only when the issue was ‘decided explicitly
            or by necessary implication in the previous disposition.’”)

        (b) JAMS disqualified itself from being a neutral forum in this dispute when it broke with decades of its own
            policies and supported Monster Energy’s position in the Ninth Circuit and in the United States Supreme
            Court. Some of the authority that supports this result includes:

                a. In its U.S. Supreme Court amicus brief, JAMS made the following statement which demonstrates
                   that JAMS recognizes it is no longer a neutral in this dispute:

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                    This case is the first time that JAMS has ever filed an amicus brief in its forty-plus year history.
                    JAMS is a neutral ADR provider that has always refrained from supporting or opposing
                    challenges to the arbitral processor arbitration awards. Yet the Ninth Circuit’s decision is so
                    harmful to efficient commercial arbitration, and so incorrect in its factual assumptions, that
                    JAMS concluded it had no choice but to take this extraordinary step, first at the rehearing level
                    before the Ninth Circuit and now before this Court.

                JAMS Sup. Ct. Amicus Br. at 3.

           b. The California Supreme Court said the requirement of a neutral arbitrator is “essential to ensuring
              the integrity of the arbitration process.” Armendariz v. Found. Health Psychcare Servs., Inc. 24 Cal.
              4th 83, 103, 99 Cal. Rptr. 2d 745, 6 P.3d 669 (2000).

           c. “An arbitrator must act in a manner that upholds the integrity and fairness of the arbitration
              process. He or she must maintain impartiality toward all participants in the arbitration at all times.”
              Ethics Standards for Neutral Arbitrators in Contractual Arbitration, Standard 5.

           d. Arbitrators are bound by the California rules for judicial impartiality, Ethics Standards for Neutral
              Arbitrators in Contractual Arbitration, Standard 10 (5), and “shall be disqualified” if “A person aware
              of the facts might reasonably entertain a doubt that the judge would be able to be impartial.” Cal.
              Cod. Civ. Pro. Section 170.1.

           e. Under the FAA, pre-award removal of an arbitrator is justified “when the court concludes that one
              party has deceived the other, that unforeseen intervening events have frustrated the intent of the
              parties, or that the unmistakable partiality of the arbitrator will render the arbitration a mere
              prelude to subsequent litigation.” Aviall, Inc. v. Ryder Sys., Inc., 110 F.3d 82, 895 (2d Cir. 1977).

           f.   The requirement to arbitrate is unenforceable under California’s law of unconscionability when “it
                designates an arbitrator who, by reasons of its status and identity, is presumptively biased in favor
                of one party. . . .” Graham v. Scissor-Tail, Inc., 28 Cal.3d 807, 821 (1981) (compelling arbitration, but
                striking requirement to arbitrate with non-neutral forum).

           g. Under the FAA, the court has authority to appoint an arbitrator when the parties reach an impasse.
              Pac. Reinsurance Mgmt. Corp. v. Ohio Reinsurance Corp., 814 F.2d 1324, 1329 (9th Cir. 1987) (“By
              enacting § 5, therefore, Congress decided that impasse in the arbitral process was to be avoided
              where possible, and that the agreements of the parties would have to take a subordinate position
              where impasse in umpire selection arises.”)

2. Does Olympic agree that all other terms of the parties’ arbitration agreements shall remain valid, without any
   further modification? For example, will the JAMS Rules still apply, or does Olympic seek to change that term as
   well?

   Olympic Eagle’s Response:

       a. It is common for parties to include in an arbitration clause that the procedural rules of an organization
          (JAMS, AAA, CPR) apply even when the organization is not administering the action.
       b. Olympic Eagle does not seek to invalidate application of the JAMS rules on procedural issues, but to the
          extent those rules invoke JAMS to make decisions about the matter (e.g. appeals from decisions of the
          arbitrator), those would not be applicable.



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    3. Your Letter states that JAMS made “misleading factual statements” and that “its business would be harmed if
       the decision was not reversed.” Please identify what misleading statement of fact and harm to its business were
       articulated by JAMS in its prior briefing, and why Olympic contends such statements demonstrate JAMS’ inability
       to remain neutral in any new arbitration proceeding.

        Olympic Eagle’s Response:

            a. JAMS’ misleading statements are discussed in paragraphs 35 through 41 of the Declaration of Michael
               Vaska In Support of Appellant’s Request for Attorneys Fees filed in the Ninth Circuit (docket entry 116).

            b. JAMS asserted that it had a right to file an amicus brief in the Ninth Circuit and U.S. Supreme Court
               because the decision was “so deleterious to efficient commercial arbitration, and so incorrect in their
               factual assumptions.” JAMS Ninth Circuit Amicus Brief at 1. JAMS said the “decision directly impact
               JAMS’s neutrals and JAM’s business.” Id. at 2. JAMS said the Ninth Circuit decision “greatly
               complicate[s] the arbitrator selection and challenge process, undermin[ing] the important goals of
               efficiency and finality, and invit[ing] unhappy litigants to engage in an unending effort to disrupt both
               pending and final arbitrations.” Id. at 15. And JAMs said the decision has caused parties “in pending and
               final arbitration proceedings [to]already [] request[] additional information from JAMS.” Id. at 17.

    4. Your Letter states that a federal court observed that JAMS’ revised disclosure standards remain incomplete,
       which you believe will subject JAMS to further litigation. Please identify the court document to which you
       referred or a transcript that contains this statement and why, even if JAMS would be the subject of future
       litigation in an unrelated matter, its conduct as the administrator here would not be (and/or would not appear
       to be) neutral.

        Olympic Eagle’s Response:

            a. The incomplete nature of the revised disclosure JAMS provides is discussed in Martin v. NTT Data, Inc.,
               No. 20-CV-0686, 2020 WL 3429423, at *9 (E.D. Pa. June 23, 2020).

            b. JAMS outlined why the Ninth Circuit’s decision would lead to further litigation in its Ninth Circuit and
               U.S. Supreme Court Amicus briefs. For example, it wrote:

                The new requirements are so ill-defined and open-ended they will create delay, uncertainty, and added
                cost for the many sophisticated parties participating in complex commercial arbitrations. Parties will use
                the opinion to demand substantially more information about arbitrators and the ADR providers than any
                statutes, codes of ethics, or ADR provider policies currently require. It will create new bases for losing
                parties to attempt to challenge arbitrators and unravel final awards, slowing down the arbitration
                process …

                JAMS Ninth Circuit Amicus Brief at 4.

            c. JAMS took what it admitted was the unprecedented step of breaking with its obligation to remain
               neutral to side with Monster Energy in this case. JAMS told the Ninth Circuit and U.S. Supreme Court
               that the relieve Olympic Eagle sought and obtained will harm JAMS business. JAMS appears to be
               biased in this dispute, and it therefore cannot preside over it as a neutral

Olympic Eagle shares Monster Energy’s goal of resolving this dispute through arbitration with fairness, efficiency and
finality. JAMS continued involvement in this case will not advance those goals.

If you would like to speak over the telephone this week to discuss these issues, please let me know.


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Mike Vaska
206 447 8895




From: "Daniel E. Gardenswartz" <dgardenswartz@swsslaw.com>
Date: Friday, November 6, 2020 at 3:16 PM
To: Michael Vaska <mike.vaska@foster.com>
Cc: "Tanya M. Schierling" <tschierling@swsslaw.com>, "Levi Y. Silver" <lsilver@swsslaw.com>, "Sandra D.
Lonon" <sandra.lonon@foster.com>
Subject: MEC v. Olympic: Responding to your Nov. 4, 2020 Letter

Mike:

We are in receipt of your November 4, 2020 letter regarding the continued arbitration (your “Letter”). As previously
requested, kindly include Tanya Schierling and Levi Silver on all future correspondence.

I am still not clear on why you believe either a new JAMS arbitrator (especially one who makes a complete disclosure)
cannot neutrally decide the dispute. Please also advise as to whether you also contend that JAMS cannot serve as the
administrator. To facilitate that discussion, please let me know if Olympic is willing to provide the following additional
information:

    1. Your Letter states that if Monster refuses Olympic’s proposal, Olympic “will file a motion with Judge Klausner to
       appoint an alternative provider and for other appropriate relief.” As you know, under Local Rule 7-3 before the
       filing of any such motion Olympic must “discuss thoroughly . . . the substance of the contemplated motion and
       any potential resolution.” To that end, kindly provide the legal authority supporting Olympic’s assertion that (a)
       this issue is not res judicata, and (b) JAMS is effectively disqualified. Please also identify what “other
       appropriate relief” Olympic intends to pursue through this motion.

    2. Does Olympic agree that all other terms of the parties’ arbitration agreements shall remain valid, without any
       further modification? For example, will the JAMS Rules still apply, or does Olympic seek to change that term as
       well?

    3. Your Letter states that JAMS made “misleading factual statements” and that “its business would be harmed if
       the decision was not reversed.” Please identify what misleading statement of fact and harm to its business were
       articulated by JAMS in its prior briefing, and why Olympic contends such statements demonstrate JAMS’ inability
       to remain neutral in any new arbitration proceeding.

    4. Your Letter states that a federal court observed that JAMS’ revised disclosure standards remain incomplete,
       which you believe will subject JAMS to further litigation. Please identify the court document to which you
       referred or a transcript that contains this statement and why, even if JAMS would be the subject of future
       litigation in an unrelated matter, its conduct as the administrator here would not be (and/or would not appear
       to be) neutral.

I do not agree with certain other statements in your Letter but do not believe that they are salient to the present issue,
nor productive to rehash here.

Daniel E. Gardenswartz | Litigation Chair
Solomon Ward Seidenwurm & Smith LLP
401 B Street Suite 1200 | San Diego, CA 92101
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